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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


JAMESON TAYLOR ANDERSON,
DEAN ANDERSON, and ROGER
MALDONADO,                                  CIVIL ACTION FILE NO.

     Plaintiffs,                             1:19-CV-5582-SCJ


v.

USI ADVANTAGE CORP. and USI
INSURANCE SERVICES LLC,

     Defendants.


                               SCHEDULING ORDER

        Upon review of the information contained in the Joint Preliminary Report

and Discovery Plan form completed and filed by the parties (Doc. No. [48]), the

Court orders that the time limits for adding parties, amending the pleadings,

filing motions, completing discovery, and discussing settlement are as set out in

the Federal Rules of Civil Procedure and the Local Rules of this Court, except as

herein modified.
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      Limited discovery commenced on DECEMBER 20, 2019 when the Court

granted Defendant USI Insurance Services LLC’s motion to expedite discovery

on a limited and focused basis. Doc. No. [12]. The unabridged discovery period

commenced on JANUARY 17, 2020 (thirty days after the appearance of the first

defendant by answer to the complaint).

      The parties’ requested for extended discovery (outside of the assigned

four-month discovery track) is granted.       Discovery shall remain open until

JUNE 20, 2020. Any requests for additional discovery extensions shall be by

motion.

      The parties’ additional scheduling request regarding dispositive motions

is granted. To this regard, dispositive motions, if any, shall be filed no later than

JULY 31, 2020. Provided, however, that if the Court grants any extensions to the

discovery period beyond the discovery close date of June 20, 2020, the deadline

for dispositive motions shall be pursuant to Local Rules 7.2 and 16.4 and any

motions for summary judgment or the proposed consolidated pretrial order must

be filed within thirty days of the close of discovery.

      If a motion for summary judgment is filed, the proposed consolidated

pretrial order must be filed within thirty days after this Court’s ruling thereon.

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If neither motion(s) for summary judgment nor the proposed pretrial order are

timely filed, the Clerk is directed to submit this matter for the Court for

consideration.

      The parties’ request to modify the case style (Doc. No. [48], p. 16) is also

granted and the Clerk is DIRECTED to amend the case-style to change the name

of the second defendant to “USI Insurance Services LLC” (with no comma in the

name).


      IT IS SO ORDERED this 21st day of April, 2020.


                                      s/Steve C. Jones
                                      HONORABLE STEVE C. JONES
                                      UNITED STATES DISTRICT JUDGE




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